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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                       CASE NO. 18-20450-CIV-ALTONAGA/Goodman

  RYAN D. GESTEN, individually and
  on behalf of others similarly situated,

          Plaintiff,
  v.

  BURGER KING CORPORATION,

        Defendant.
  ________________________________/

                                              ORDER

          THIS CAUSE came before the Court on Plaintiff, Ryan D. Gesten’s Motion for Class

  Certification [ECF No. 56], filed June 18, 2018. The Court has carefully reviewed the Motion

  and its supporting exhibits (see [ECF Nos. 56-1 to 56-11]); Defendant, Burger King

  Corporation’s Memorandum of Law in Opposition [ECF No. 64] and supporting exhibits (see

  [ECF Nos. 67-1 to 67-3]); Plaintiff’s Motion to Strike the Declarations of Cody Bruns and David

  Snider [ECF No. 67]; Plaintiff’s Reply Memorandum [ECF No. 68]; Defendant’s Sur-Reply

  [ECF No. 70]; the record; and applicable law.    For the reasons that follow, the case is stayed,

  and the Motion is denied as moot.

                                      I.     BACKGROUND

          Plaintiff filed his Class Action Complaint for Violations of the Fair and Accurate Credit

  Transactions Act (“FACTA”) [ECF No. 1-2] in the Circuit Court of the Eleventh Judicial Circuit

  in and for Miami-Dade County (“Gesten II”) after his identical action in Gesten v. Burger King

  Corporation was dismissed for lack of Article III standing and hence, lack of subject matter

  jurisdiction.   See No. 17-cv-22541-Civ, 2017 WL 4326101 (S.D. Fla. Sept. 27, 2017)
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  (“Gesten I”). Defendant removed this action on February 5, 2018. (See Notice of Removal

  [ECF No. 1]). With its Notice of Removal, Defendant advised the Court of the Gesten I case as

  well as a nearly identical FACTA case, Tarr v. Burger King Corporation, No. 17-cv-23776,

  which was dismissed for lack of subject matter jurisdiction, and is now pending on appeal before

  the United States Court of Appeals for the Eleventh Circuit, No. 18-10279. (See Notice of

  Related Case [ECF No. 1-4]).

         Simultaneously with its Notice of Removal, Defendant filed a Motion to Stay

  [ECF No. 1-5]. Defendant moved to stay the action until the Eleventh Circuit decided the

  pending appeal in Tarr v. Burger King Corp. (See id. 1). Plaintiff opposed the Motion to Stay

  (see Plaintiff’s Response in Opposition [ECF No. 5]), arguing: Plaintiff should not be forced to

  wait for the completion of the appeal in Tarr which started on January 19, 2018 and “could take

  more than a year to resolve” (id. 3); before entertaining a stay request, the Court should

  determine if it has jurisdiction over Plaintiff’s claim so Plaintiff can know whether to proceed in

  state court (see id.); nothing about Tarr calls into question prior decisions the undersigned has

  reached finding jurisdiction in similar FACTA cases (see id.); and a lengthy appeal would

  prejudice Plaintiff by making it more difficult to gather discovery needed for class certification

  and to show Defendant’s FACTA violations were willful (see id. 4).

         The Court entered its Order [ECF No. 7] denying Defendant’s request for a stay.

  Thereafter, the Court entered an Order Setting Trial and Pre-Trial Schedule [ECF No. 18],

  establishing, among other dates, deadlines for the completion of class certification discovery (see

  id. 2), and the filing of a class certification motion (see id.). Having completed class certification

  discovery, Plaintiff now brings this Motion for Class Certification.




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                                    II.      LEGAL STANDARD

         “The District Court has broad discretion to stay proceedings as incident to its power to

  control its own docket.” Clinton v. Jones, 520 U.S. 681, 706 (1997) (citation omitted); see also

  Johnson v. Johnson v. Bd. of Regents of Univ. of Ga., 263 F.3d 1234, 1269 (11th Cir. 2001)

  (“[W]e accord district courts broad discretion over the management of pre-trial activities,

  including discovery and scheduling.” (alteration added; citations omitted)).         Indeed, “[t]he

  inherent discretionary authority of the district court to stay litigation pending the outcome of [a]

  related proceeding in another forum is not questioned.” CTI-Container Leasing Corp. v.

  Uiterwyk Corp., 685 F.2d 1284, 1288 (11th Cir. 1982) (alterations added; citations omitted). “It

  is [also] well-established that a district court has the authority to stay proceedings on its own

  motion or on motion of the parties.” In re Application of Alves Braga, 789 F. Supp. 2d 1294,

  1307 (S.D. Fla. 2011) (alteration added; citations omitted). Finally, “[i]n the interest of judicial

  economy, . . . court[s can] sua sponte order a stay of [a] proceeding pending the outcome of [an]

  appeal.” Lozman v. City of Riviera Beach, No. 08-80134-CIV, 2011 WL 13107422, at *4 (S.D.

  Fla. May 4, 2011 (alterations added)).

                                          III.   DISCUSSION

         In opposing class certification, Defendant asserts Plaintiff cannot establish an injury in

  fact and thus lacks standing –– the very conclusion the district court reached in Tarr v. Burger

  King Corporation, No. 17-23776-Civ, 2018 WL 318477 (S.D. Fla. Jan. 5, 2018), and the subject

  of the Tarr appeal filed in January 2018. (See Opp’n 5–9). Following a review of the parties’

  written briefing, the Court examined several docket entries in Tarr v. Burger King Corporation,

  No. 18-10279 (11th Cir.); and Price, et al. v. Godiva Chocolatier, Inc., No. 16-16486 (11th Cir.).




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         Curiously, upon filing the appeal in Tarr and obtaining a generous extension of time for

  his opening brief, Tarr filed a motion to stay his appeal before the Eleventh Circuit, suggesting

  the outcome of Price –– an appeal addressing class members’ objections to the fairness of a

  FACTA class action settlement, rather than the question of a plaintiff’s standing to assert a

  FACTA claim –– would resolve the same issue presented in Tarr. (See Appellant’s Mot. to Stay

  Case, Case No. 18-10279, ¶ 4). In opposing a stay of the Tarr appeal, Defendant complained

  Tarr’s attorneys, the same attorneys for Plaintiff, had prevented a stay of Gesten II and in doing

  so, had opposed the same arguments they were then advancing before the Eleventh Circuit for a

  stay of the Tarr appeal. (See Appellee’s Resp. in Opp’n to Appellant’s Mot. to Stay Case, No.

  18-10279, 1). Defendant explained a stay would “result in prejudice[,] . . . forc[ing] [it] to

  continue to litigate Gesten [II] in the district court when the resolution of Tarr may determine

  the district court does not have subject-matter jurisdiction.”           (Id. 2 (alterations added)).

  Defendant also reasoned Price could very well not resolve the FACTA jurisdictional question

  posed in Tarr (and present in this case, Gesten II), because Price’s counsel –– again the same

  attorneys as in Tarr and Gesten II –– had argued the Eleventh Circuit should dismiss the Price

  appeal for lack of jurisdiction in response to the Eleventh Circuit’s letter to the Price parties,

  expressing concern with its jurisdiction over the appeal. (See id. 4).

         Most significantly, Defendant accused Tarr’s (and Plaintiff’s) attorneys of a different

  objective in seeking to stay the Tarr appeal:

         Tarr’s motion conceals his attorneys’ true objective, which is to delay a ruling
         here so they can fully litigate the Gesten [II] case in federal court (including
         obtaining a ruling on class certification) while avoiding the possibility that
         binding precedent created by [the Eleventh Circuit], if the lower court’s decision
         is affirmed [in Tarr] would result in dismissal of that case. In fact, Tarr’s
         attorneys’ actions in this appeal, including seeking a four-week extension to file
         their opening brief and then moving to stay, clearly demonstrate they are trying to



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         delay the outcome of this appeal so that it does not result in dismissal of the
         Gesten [II] case . . . .

  (Id. 7–8 (alterations added; footnote call number omitted)).

         In seeking the stay before the Eleventh Circuit, Tarr and Plaintiff’s counsel stated “a stay

  will cause no prejudice. All parties and the Court benefit from avoiding waste by tabling

  proceedings in this case because the legal landscape is almost certain to materially change before

  the case is decided.” (Appellant’s Mot. to Stay Case, No. 18-10279, ¶ 7). That is most certainly

  true. As Tarr (and Plaintiff’s) counsel also noted, the Court “has broad discretion to issue a stay

  in the prudent management of its docket” (id. ¶ 8 (citing Clinton, 520 U.S. at 706)), and

  “prudence dictates the need for a stay to avoid substantial waste . . . .” (Id.).

         The Court can think of no greater waste than certifying a FACTA class numbering in the

  thousands, only to have a definitive pronouncement finding a plaintiff lacks Article III standing

  to bring a FACTA claim where a restaurant, through error, “print[ed] more than the last 5 digits

  of the card number or the expiration date upon any receipt provided to the cardholder at the point

  of sale or transaction.” (Compl. ¶¶ 15–16 (quoting 15 U.S.C. § 1681c(g) (alteration added))). If

  that were to occur, there would be a significant waste in judicial resources and the parties’

  resources, with a case starting anew in the state court from where it was removed.

         Consequently, the Court uses its broad discretion to stay the case, responding as follows

  to Plaintiff’s earlier objections to a stay of this case (see generally Resp. to Defendant’s Mot. to

  Stay): the delay in Tarr is a direct result of Plaintiff’s counsels’ decision to seek a stay of the

  appeal; the Eleventh Circuit will eventually resolve the jurisdictional question pending on

  appeal, and hence, the Court’s jurisdiction here; the landscape since the undersigned’s early

  FACTA decisions has changed (see, e.g., Opp’n 6–7, & n.9 (citing cases)); and Plaintiff has




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  secured the discovery needed for class certification and to show Defendant’s FACTA violations

  were willful.

                                       IV.   CONCLUSION

         For the foregoing reasons, it is

         ORDERED AND ADJUDGED that this case is STAYED. The Clerk of the Court is

  DIRECTED to mark this case CLOSED for statistical purposes only, and all pending motions

  are DENIED as moot. The Court nonetheless retains jurisdiction and the case shall be restored

  to the active docket upon Court order following motion of a party. The parties shall file joint

  status reports, every 60 days beginning August 31, 2018, advising of the status of the Price and

  Tarr appeals.

         DONE AND ORDERED in Miami, Florida, this 1st day of August, 2018.



                                                        _________________________________
                                                        CECILIA M. ALTONAGA
                                                        UNITED STATES DISTRICT JUDGE

  cc:    counsel of record




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